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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION

AMERICAN APPAREL & FOOTWEAR
ASSOCIATION, INC.; HALLOWEEN                          CASE NO. 3:21-cv-01757
INDUSTRY ASSOCIATION, INC.;
JUVENILE PRODUCTS MANUFACTURERS                       COMPLAINT FOR DECLARATORY
ASSOCIATION, INC.; THE TOY                            AND INJUNCTIVE RELIEF
ASSOCIATION, INC.; (individually and d/b/a
SAFE TO PLAY COALITION),

        Plaintiffs,

   v.

PATRICK ALLEN, in his official capacity as
the Director of the Oregon Health Authority;
ELLEN ROSENBLUM, in her official capacity
as Attorney General for the State of Oregon’s
Department of Justice,

        Defendants.

   Plaintiffs American Apparel & Footwear Association, Inc., Halloween Industry Association,
Inc., Juvenile Products Manufacturers Association, Inc., The Toy Association, Inc., and the Safe
to Play Coalition (collectively, “Plaintiffs”), assert the following claims against Defendants Pat-
rick Allen, in his official capacity as the Director of the Oregon Health Authority, and Ellen




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Rosenblum, in her official capacity as Attorney General for the State of Oregon’s Department of
Justice, and allege:
                                     NATURE OF ACTION
    1.     Plaintiffs bring this action for a declaration that two provisions of Oregon’s Toxic-
Free Kids Act are preempted by the federal Consumer Product Safety Act and the Federal Haz-
ardous Substances Act. The Oregon legislature passed the Toxic-Free Kids Act in 2015 in order

to identify and then “phase out” (that is, ban) a long list of chemicals from certain children’s
products sold in Oregon. Oregon cannot ban these chemicals (what it calls high priority chemi-
cals of concern for children’s health, or HPCCCHs) from children’s products that are allowed
under federal law because federal law expressly preempts Oregon’s non-“identical” laws and im-
plementing regulations.
    2.     The first provision at issue in this lawsuit (OAR 333-016-30151) requires onerous
fees and testing to request an “exemption” from being banned under Oregon law that already ex-
ists solely because of the fact of conflicting federal law. Oregon’s administrative rule disregards
this automatic operation of federal law to preempt non-“identical” Oregon law, attempting in-
stead to compel manufacturers to submit a “request” — with onerous supplementary information
not required under federal law — that Oregon not ban chemicals that Oregon cannot ban in the
first place because they are permitted in children’s products by federal law. Because federal
preemption does not depend on a state-required “request” to recognize that preemption, Oregon’s
attempt to ban HPCCCHs from children’s product without this request cannot prevail.
    3.     The other two preempted provisions at issue in this lawsuit (ORS 431A.258 and its
implementing administrative rule, OAR 333-016-2060) require the identification and reporting
of chemicals even though, as present in a children’s toy, they present no risk of harm to children.
After three such reports (under biennial notices to the Oregon Health Authority), the Toxic-Free

1
  Even though OAR 333-016-3015 is merely the “implementing” administrative rule enacted by
the Oregon Health Authority for ORS 431A.260, the offending provision preempted by federal
law is found only in the administrative rule, not its statutory authority.


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Kids Act purports to require the “removal or substitution” of HPCCCHs from the children’s
product — again, without regard to federal law permitting the sale of these same products with
those chemicals. Oregon’s provisions are preempted by federal law because federal law bans the
sale of children’s products only where a chemical, including the HPCCCHs from Oregon’s list,
is “accessible” to a child, which means that it presents an actual hazard to that child in some way.
   4.        Plaintiffs seek a declaration that federal law preempts these provisions and an order

permanently prohibiting enforcement of these provisions.
                                              PARTIES
   5.        Plaintiff American Apparel & Footwear Association, Inc. (AAFA), is a not-for-profit
corporation. AAFA represents more than 1,000 brands as the trusted public-policy and political
voice of the apparel and footwear industry with more than 3 million workers and more than $350
billion in annual U.S. retail sales, of which approximately $30 billion are attributed to children’s
products.
   6.        Plaintiff Halloween Industry Association, Inc. is a not-for-profit corporation that rep-
resents businesses involved in the manufacture, importation or distribution of Halloween prod-
ucts including costumes, decor, novelty items and party supplies. The Halloween Industry Asso-
ciation has grown to become the preeminent authority on Halloween and serves as a non-profit
voice of the industry.
   7.        Plaintiff Juvenile Products Manufacturers Association, Inc. is a not-for-profit corpo-
ration organized under the laws of New York that represents businesses involved in creating chil-
dren’s products used to care for and protect children from before birth through preschool. Juve-
nile Products Manufacturers Association’s more than 250 members include manufacturers, im-
porters, laboratories and distributors of juvenile products, and its members account for almost
90% of all sales of such products in the United States. Juvenile Products Manufacturers Associa-
tion’s mission is to be a leading force in the growth and health of the juvenile products industry,
including advocating for public policies and laws that promote the health, care and well-being of
babies.

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   8.      Plaintiff The Toy Association, Inc. is a not-for-profit corporation that serves as a uni-
fying force for members’ creativity, responsibility, and global success, advocating for their needs
and championing the benefits of play. The Toy Association is committed to serving as the toy
community’s voice on the cognitive, social, emotional, and creative benefits of play, while
providing members with programs, events, services, and tools that will help them to deliver safe,
fun and developmentally beneficial toys and games to children around the world. The Toy Asso-

ciation has a dedicated team leading the industry’s safety initiatives, including fulfilling the role
of chair in the ongoing review process for the ASTM F963 Toy Safety Standard, and educating
manufacturers on safety and quality standards. The Toy Association serves as the voice of toy
manufacturers with regulators in the U.S. and internationally.
   9.      Plaintiffs are members of the Safe To Play Coalition, which is a coalition of trade as-
sociations representing makers of apparel, toys, crafts, juvenile products, and Halloween items
that are subject to extensive federal regulation.
   10.     Plaintiffs bring this suit on behalf of their members, which sell toys, apparel, child-
care products, and other safe children’s products in Oregon in full compliance with federal and
state law regulating chemical and other potential hazards found in children’s toys.
   11.     Defendant Patrick Allen, who is sued in his official capacity as the Director of the Or-
egon Health Authority, is an individual residing in Oregon.
   12.     Defendant Ellen Rosenblum, who is sued in her official capacity as Attorney General
for the State of Oregon’s Department of Justice, is an individual residing in Oregon.
                                 JURISDICTION AND VENUE
   13.     This Court has jurisdiction over this cause of action under 28 U.S.C. § 1331, in that
this cause of action arises under the Constitution and/or laws of the United States, and, specifi-
cally, under Article VI, Clause 2 of the United States Constitution, commonly known as the Su-
premacy Clause.




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    14.     Declaratory relief is authorized by the Declaratory Judgment Act, 28 U.S.C. §§ 2201,
2202 because an actual controversy exists regarding whether provisions of the Oregon’s Toxic-
Free Kids Act and related administrative rules are preempted by federal law.
    15.     Under Ex Parte Young, 209 U.S. 123 (1908), actions against state officials seeking
prospective injunctive relief are not barred by sovereign immunity.
    16.     Venue is proper in this Court under U.S.C. § 1391(b) because Defendant resides in

this District and a substantial part of the events or omissions giving rise to the claim occurred in
this District.
                                    FACTUAL ALLEGATIONS
    17.     For over 60 years, a comprehensive federal statutory scheme has governed the sale of
consumer products containing potentially toxic chemicals, including children’s toys.
    18.     In 1960, Congress enacted the Federal Hazardous Substances Act (“FHSA”), 15
U.S.C. § 1261 et seq., in response to mounting evidence of the risks, particularly to children, of
hazardous household products.
    19.     The FHSA regulates consumer products intended for use or packaged in a form suita-
ble for use in the household or by children, and it defines “toxic” to mean a substance that “has
the capacity to produce personal injury or illness to man through ingestion, inhalation, or absorp-
tion through any body surface.” Id. § 1261(g).
    20.     Section 2(f) of the FHSA defines a “hazardous substance” to mean any “substance or
mixture of substances which (i) is toxic, (ii) is corrosive, (iii) is an irritant, (iv) is a strong sensi-
tizer, (v) is flammable or combustible, or (vi) generates pressure through decomposition, heat, or
other means, if such substance or mixture of substances may cause substantial personal injury or
substantial illness during or as a proximate result of any customary or reasonably foreseeable
handling or use, including reasonably foreseeable ingestion by children.” Id. at § 1261(f)(1)(A).
    21.     Twelve years after enactment of the FHSA, Congress enacted the Consumer Product
Safety Act (“CPSA”), 15 U.S.C. § 2051 et seq., which established the Consumer Product Safety
Commission (the “CPSC”).

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    22.     Congress found that “control by State and local governments of unreasonable risks of
injury associated with consumer products is inadequate and may be burdensome to manufactur-
ers.” Id. § 2051(a)(4). Accordingly, Congress created the CPSC “to develop uniform safety
standards for consumer products to minimize conflicting State and local regulations.” Id.
§ 2051(b)(3).
    23.     And in the Consumer Product Safety Improvement Act of 2008 (“CPSIA”), Congress

added substantial testing and certification requirements for children’s products, further restricted
lead in these products, and adopted ASTM F963 as a mandatory Toy Safety Standard with added
additional limits on heavy metals and phthalates in toys and defined childcare articles. 15 U.S.C.
§ 2056b(a).
    24.     The CPSA gave the CPSC authority to issue regulations enforcing the FHSA and cre-
ated a supplemental ban on consumer products not banned by the FHSA where the CPSC finds
that those products present an “unreasonable risk of injury.” Id. § 2057. “Consumer products”
under the CPSC’s jurisdiction are broadly defined. Id. § 2052(a)(5). And “children’s products”
are specifically defined, which includes the universe of products sought to be regulated by Ore-
gon’s Toxic-Free Kids Act. Id. § 2052(a)(2); ORS 431A.253(3)(a).
    25.     The CPSC implements the FHSA and the CPSA by issuing rules and guidance regu-
lating hazardous substances in consumer products, including children’s toys.
    26.     The CPSC, which has “primary responsibility for enforcement” of the FHSA and
CPSA, Riegel Textile Corp. v. Celanese Corp., 649 F2d 894, 901 (2d Cir 1981), has fulfilled its
legislative mandate by issuing a series of regulations determining when a children’s product is
banned because it contains potentially toxic chemicals.
    27.     The CPSC also issued regulations interpreting and supplementing the statutory defini-
tion of “toxic.” 16 CFR § 1500.3(c)(2).
    28.     The CPSC declared that substances are toxic if, at specified levels, they produce spec-
ified injuries within a specified time period in lab rats or rabbits. Id. § 1500.3(c)(2)(i).



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    29.     And CPSC declared that a substance is categorically toxic if “it is or contains a
known or probable human carcinogen,” “neurotoxin,” or “developmental or reproductive toxi-
cant” that is accessible to children Id. § 1500.3(c)(2)(ii).
    30.     Products containing substances that qualify as toxic under the CPSC’s regulation are
automatically banned by the FHSA if they are intended for children, could cause substantial in-
jury or illness through reasonably foreseeable handling or use, including ingestion, and if the

substance is susceptible of access to the child.
    31.     In turn, section 2(q) of the FHSA states that “a toy, or other article intended for use
by children” is a “banned hazardous substance” if it “is” a “hazardous substance” as defined in
§ 1261(f) or if it “bears or contains a hazardous substance in such manner as to be susceptible of
access by a child to whom such toy or other article is entrusted.” 15 U.S.C. § 1261(q).
    32.     If a product is a “banned hazardous substance” under § 2(q), selling that product vio-
lates federal law. 15 U.S.C. § 1263. In other words, a toy or product intended for children that is
“toxic” under § 1261(g) is a “hazardous substance” under § 1261(f) if it could cause substantial
injury or illness as a result of reasonably foreseeable handling or use, and, therefore, is a “banned
hazardous substance” under § 1261(q) that cannot be sold in the United States.
    33.     Toxic chemicals in children’s toys are regulated, in exacting detail, by this federal re-
gime. See 16 CFR Part 1500, et. seq. Also, for example, the CPSA sets limits on a range of
phthalates (15 U.S.C. § 2057(c); 16 CFR Part 1307; 16 CFR § 1308.1) and the testing method for
phthalates (CPSC-CH-C1001-09.4).
    34.     The toy safety standard issued by the American Society for Testing and Materials
(“ASTM”), known as ASTM F963 (15 U.S.C. § 2056b(a)), is a mandatory toy-safety standard
under 15 U.S.C. § 2058; 16 CFR § 1250.1 (“This part establishes a consumer product safety
standard for toys that mandates provisions of ASTM F963.”). ASTM F963 establishes the pre-
cise manner for testing with CPSC accredited laboratories (CPSIA Sec. 108(e); 16 CFR Part
1200) and for certification as compliant with Children’s Product Certifications (15 U.S.C.



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§ 2063; 16 CFR Part 1107, 1109 and 1110), with such testing and certification requirements also
applicable to all “children’s products” under the CPSA.
   35.     ASTM F963 also includes and governs other chemicals, such as cadmium and anti-
mony, which Oregon also includes in its list of “high priority chemicals of concern for children’s
health.” OAR 333-016-2020. ASTM F963 sets maximum levels of specified toxic chemicals in
both the surface coating and “accessible” substrate materials of children’s toys, including certain

heavy metals (lead, mercury, antimony, cadmium, and arsenic).
   36.     ASTM F963 specifies detailed test methods to determine the “accessibility” or “bioa-
vailability” of chemicals to children, and it contains nearly 70 pages of detailed requirements
aimed at addressing various possible risks associated with toys, including the risk of exposure to
toxic chemicals.
   37.     To protect this comprehensive federal statutory and regulatory scheme, both the
FHSA and the CPSA contain provisions expressly preempting state laws that diverge from fed-
eral standards.
   38.     The FHSA provision provides that if the CPSC issues a regulation to protect against
the “risk of illness or injury associated with a hazardous substance” then “no State or political
subdivision of a State may establish or continue in effect a requirement applicable to such sub-
stance and designed to protect against the same risk of illness or injury unless such requirement
is identical to the requirement established under such regulations.” PL 94–284 (S 644), PL 94–
284, May 11, 1976, 90 Stat 503 (emphasis added).
   39.     The CPSA’s express preemption is equally unambiguous that federal law fully
preempts all contrary state laws, regulations, or standards:

   Whenever a consumer product safety standard under this chapter is in effect and applies to a
   risk of injury associated with a consumer product, no State or political subdivision of a State
   shall have any authority either to establish or to continue in effect any provision of a safety
   standard or regulation which prescribes any requirements as to the performance, composi-
   tion, contents, design, finish, construction, packaging, or labeling of such product which are
   designed to deal with the same risk of injury associated with such consumer product, unless




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   such requirements are identical to the requirements of the Federal standard. 15 U.S.C.
   § 2075 (emphasis added).

   40.     Despite these federal laws and regulations, the Oregon legislature passed the Oregon
Toxic-Free Kids Act in 2015 to identify and, eventually, ban a list of “High Priority Chemicals
of Concern for Children’s Health” (“HPCCCH”) found in the very same children’s toys and

other products already extensively regulated under federal law. ORS 431A.253 to .280.
   41.     The Oregon Health Authority, the state agency responsible for enforcement of the
Toxic-Free Kids Act, has since promulgated a long list of administrative rules under the author-
ity of the Toxic-Free Kids Act. OAC 333-016-2001 to -3080.

   42.     The first “phase” of enforcement of the Toxic-Free Kids Act involved OHA’s prom-
ulgation of rules to establish the list of HPCCCHs subject to testing, regulation, and banning un-
der Oregon’s new law.
   43.     The second “phase” of enforcement required toy manufacturers, among other things,
to test toys to determine the amount of HPCCCHs in those toys and then report, on a biennial ba-
sis beginning on January 1, 2018, the amount of those HPCCCHs found in each toy. The Toxic-
Free Kids Act permitted this reporting under an existing, national system already in use by man-
ufacturers for reporting chemicals under similar laws in Washington and other states.
   44.     The third and final “phase” of enforcement requires the removal or substitution of any
HPCCH reported to OHA for a third time in the biennial notices for three products: children’s
cosmetics, any “mouthable” toy, or toys for children under three years old. That third biennial
notice, for many toy manufacturers, falls on January 1, 2022.
   45.     Manufacturers found in violation of the Toxic-Free Kids Act are subject to punish-
ment by civil penalties, including additional penalties for subsequent or ongoing violations. ORS
431A.275; OAR 333-016-3030.
   46.     Without prospective injunctive relief prohibiting the enforcement of Oregon’s state
laws preempted by the FHSA and CPSA, Plaintiffs and their member manufacturers will suffer
irreparable harm and lack an adequate remedy at law.



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                                             COUNT 1
                DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
                                        OAR 333-016-3015
   47.     Plaintiffs reallege paragraphs 1-46.
   48.     The Oregon Health Authority drafted OAR 333-016-3015, effective March 1, 2021,
to implement ORS 431A.260, which is part of the Toxic-Free Kids Act.

   49.     ORS 431A.260 requires the “removal or substitution” of certain chemicals from chil-
dren’s toys, but it also provides that toy manufacturers are “exempt” from this requirement if the
toy contains chemicals that are considered safe under the federal Consumer Product Safety Im-
provement Act (the “CPSIA”).
   50.     Despite Oregon’s recognition in ORS 431A.260 that federal law, with nothing more,
automatically preempts conflicting Oregon law governing chemicals permitted in children’s toys,
OAR 333-016-3015 impermissibly adds additional requirements to be considered “exempt” from
the operation of Oregon law.
   51.     These impermissible additional requirements include: (1) payment of a $1,500 fee,
(2) submission of a request for exemption, (3) a citation to the applicable federal statute or safety
standard with preemptive effect, (4) supporting documentation showing compliance with those
federal statutes or standards, and (5) additional product information (including the product cate-
gory, brand names and model numbers, and UPC or codes). OAR 333-016-3015(4).
   52.     These additional burdens are preempted by federal law and are also beyond the pow-
ers and authority of the OHA in “implementing” ORS 431A.260.
   53.     The Oregon Legislature drafted ORS 431A.260 to provide, as it must, that toy manu-
facturers “are exempt” from the statute if it conflicts with federal law. This exemption, of course,
includes requirements under the FHSA and CPSA. There are no additional requirements; this ex-
emption is automatic.
   54.     Under the express preemption provisions contained in both the FHSA and the CSPA,
federal law is supreme, and it preempts Oregon law that is not “identical” to federal law, no

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matter the intent of the Oregon legislature in passing laws governing the same products, and irre-
spective of any conditions, obligations, or other changes Oregon law may attempt to impose.
   55.      As recognized by Representative Alissa Keny-Guyer (one of the self-proclaimed
“champions” of Oregon’s Toxic-Free Kids Act), the Oregon legislature intended to explicitly
acknowledge that “Oregon can and will be preempted by federal laws in some cases. We in-
cluded the language in Section 5 for these scenarios.” June 1, 2016 Letter from Rep. Keny-

Guyer.
   56.      This “language” in Section 5 of the original act, codified at ORS 431A.260(3), explic-
itly recognizes that manufacturers of toys are “exempt” solely by the fact of their regulation un-
der federal law:

   Manufacturers are exempt from meeting the requirements of this section for children’s prod-
   ucts described in subsection (1) of this section that contain high priority chemicals of concern
   for children’s health used in children’s products at levels that are at or below allowable levels
   for children’s products as established by the Consumer Product Safety Improvement Act of
   2008, P.L. 110–314, 122 Stat. 3016, as in effect on the effective date of this 2015 Act.
   57.      There is, quite plainly, no additional requirement for a toy to be “exempt” under Ore-
gon’s own statutory provision, which is consistent with how federal preemption works. If federal
law governs, the toy is “exempt.” And, although ORS 431A.260(3) refers only to the CPSIA, the
express-preemption provisions cited above apply to the entirety of the CPSA and the FHSA ap-
ply with equal force.
   58.      But the rule promulgated by the OHA — under this same statutory authority — disre-
gards this simple, self-executing rule of federal preemption. Instead, the OHA’s new OAR 333-
016-3015 adds an impermissible requirement that “in order to be exempt” from Oregon’s regula-
tion, manufacturers must jump through several major hurdles created solely by the new OAR:

   (2) A manufacturer is exempt from meeting the requirement of removal or substitution of a
   HPCCCH in a children’s product under ORS 431A.260 if one or more of the following is
   met:

         (a) The children’s product contains a HPCCCH used in children’s products at levels that
         are at or below allowable levels for children’s products as established by the Consumer



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         Product Safety Improvement Act of 2008, P.L. 110-314, 122 Stat. 3016, as in effect on
         July 27, 2015.

         (b) A manufacturer is in compliance with a federal consumer product safety standard
         adopted under federal law that establishes allowable levels for children’s products of a
         high priority chemical of concern for children’s health used in children’s products.

                                                     ***

   (4) In order to be exempt under one or more of the categories in section (2) of this rule a
   manufacturer must submit an exemption request and the fees specified in OAR 333-016-
   2080(1)(e) and provide to the Authority written supporting documentation, an electronic
   copy of the certificate of conformity, if available, that is issued by the applicable authority or
   an authorized designate, and any other supporting documentation that provides evidence that
   the children’s product meets the applicable standards described in the applicable category in-
   cluding:

         (a) For an exemption request under subsection (2)(a) of this rule, the citation for the sec-
         tion of the Consumer Product Safety Improvement Act of 2008, P.L. 110-314, 122 Stat.
         3016, in effect on July 27, 2015, naming the HPCCCH.

         (b) For an exemption request under subsection (2)(b) of this rule, a citation to the federal
         consumer product safety standard adopted under federal law that establishes an allowable
         level of a HPCCCH in children’s products, specific to allowable levels of the HPCCCH
         in children’s products.

   59.      In practice, these requirements present an onerous burden on toy manufacturers found
only under Oregon’s new rule. Several manufacturers have indicated that they would need to
submit approximately 20 requests for each exemption sought (a separate exemption, with its sep-
arate $1,500 fee, must be submitted for each chemical for which an exemption is sought). This
burden alone amounts to $30,000 per manufacturer.
   60.      Additionally, Plaintiffs estimate that it would take manufacturers about ten hours per
product to gather and prepare information required under OAR 333-016-3015. At $50 per hour,
that is an additional $500 for every product containing an HPCCCH “requiring” an exemption.
And because OHA has altered the calculation methodology for substance concentration, addi-
tional testing is likely required, which adds another $200 per product. These costs would be mul-
tiplied by about 30 products for small manufacturers and up to 15,000 products for larger ones,
which results in estimated compliance costs of $50,000 for the smallest manufacturers and up to
as much as $10 million for the largest ones.

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   61.     Some manufacturers have indicated that this burden would result in abandoning sales
of the subject toys and other children’s products in Oregon, leaving Oregon’s consumers to
black-market sellers and counterfeiters that play by none of the rules, which endangers children
in exactly the way the Toxic-Free Kids Act was passed to prevent.
   62.     These additional burdens cannot survive preemption under federal law. Under the ex-
press preemption provisions in the FHSA and the CSPA, Oregon’s requirement in ORS

431A.260 mandating the “substitution or removal” of HPCCHs in children’s toys under Ore-
gon’s standards is preempted by federal law regulating those same products, chemicals, and
standards. Accordingly, OHA’s attempt, under OAR 333-016-3015(4), to force manufacturers to
pay a fee and submit a “by your leave” request to be exempt is preempted and made void under
conflicting federal law.
                                            COUNT 2
               DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
                                       OAR 333-016-3015
   63.     Plaintiffs reallege paragraphs 1-62.
   64.     Additionally, the OHA’s attempt to impose new requirements to be exempt from Ore-
gon’s conflicting standards runs afoul of ORS 183.332, which requires the OHA to “attempt to
adopt rules that correspond with equivalent federal laws and rules.”
   65.     The new exemption requirements fail this test. They do not “correspond” to federal
preemption laws, they contradict them.
   66.     Apart from the federal preemption, the requirements of OAR 333-016-3015(4) imper-
missibly add burdens that ORS 431A.260 omits.
   67.     OHA has exceeded its authority in drafting the new requirements found in OAR 333-
016-3015 but missing from ORS 431A.260. Under ORS 413.042, which provides OHA’s author-
ity to create rules for administering the Toxic-Free Kids Act, “the Director of the Oregon Health
Authority may adopt rules necessary for the administration of the laws that the Oregon Health
Authority is charged with administering.”

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       68.     As pertinent here, the “law” that the OHA is “charged with administering” is ORS
431A.260. As discussed above, this statute acknowledges, as it must under the federal preemp-
tion doctrine, that a toy manufacturer is “exempt” from the mandates of ORS 431A.260 if the
statute’s standards and obligations conflict with federal law.
       69.     As drafted by the Oregon Legislature, this exemption is automatically applicable
simply by the existence of a conflict with federal law — just as the federal preemption doctrine

requires.
       70.     But OAR 333-016-3015, by simple administrative fiat, pretends to add burdensome
filing-fee, testing, and paperwork requirements, which is exactly the usurpation of power that the
Oregon Supreme Court has prohibited.
       71.     A useful foil demonstrating the OHA’s fault here may be seen in another section of
the Toxic-Free Kids Act, ORS 431A.258.
       72.     Under this statute, the Oregon Legislature expressly provided for the manner in which
a toy manufacturer could seek an “exemption” from the statute’s notice requirements. ORS
431A.258(5)(a) (listing requirements for the application for exemption). This statutory require-
ment is then replicated in the rule administering this statute, ORS 333-016-2070(3).
       73.     The lack of parallel statutory authority in ORS 333-016-3015 demonstrates that
OHA’s new requirements do not administer ORS 431A.260 — they conflict with it. Because
ORS 431A.260 does not include the new burdensome requirements added by OAR 333-016-
3015, the OHA’s new rule impermissibly exceeds what is explicitly “necessary” under the stat-
ute.
       74.     Plaintiffs are entitled to a declaration that the additional “exemption” provisions in
OAR 333-016-3015 are beyond the OHA’s statutory authority, are preempted by federal law,
and, for the same reasons, this Court should enjoin Defendants from enforcing these preempted
provisions.




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                                            COUNT 3
                  DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
                            ORS 431A.258 and OAR 333-016-2060
   75.     Plaintiffs reallege paragraphs 1-46.
   76.     Oregon and federal law share the same commonsense and admirable goalpost: to pro-
tect children by identifying and banning children’s toys with chemicals that harm the children

playing with them.
   77.     Under the FHSA, a “banned hazardous substance” means “any toy, or other article
intended for use by children, which is a hazardous substance, or which bears or contains a haz-
ardous substance in such manner as to be susceptible of access by a child to whom such toy or
other article is entrusted.” 15 U.S.C. § 1261(1)(1) (emphasis added); 16 CFR § 1500.3 (same).
   78.     This federal choice to test for, measure, and ban only “accessible” chemicals in chil-
dren’s toys preempts Oregon’s ORS 431A.258 and OAR 333-016-2060, which require toy man-
ufacturers to more broadly test, report, and ban chemicals in “component parts” of toys, even if
those chemicals are not “accessible” under the FHSA or CPSA and do not harm the children us-
ing those toys.
   79.     Federal law places exacting limits on potentially hazardous chemicals and requires an
extensive process for manufacturers to identify, test for, measure, and keep those toys (and
chemicals) off toy-store shelves.
   80.     Throughout federal law on this subject, the U.S. Congress and its federal authorities
recognize and require that only “accessible” chemicals are subject to testing, measurement, regu-
lation, and, for toys exceeding these limits, banning:

   Under the Federal Hazardous Substances Act (FHSA), products that are toxic or irritants and
   that may cause substantial injury or illness under reasonably foreseeable conditions of han-
   dling or use, including reasonably foreseeable ingestion by children, are “hazardous sub-
   stances.” 15 U.S.C. 1261(f)(1). … A toy or other article intended for use by children that
   contains an accessible and harmful amount of a hazardous chemical is banned. 15 U.S.C.
   § 1261(q)(1)(A).” 16 CFR § 1500.231(c)(1) (emphasis added).




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    81.     The two cited statutes in this rule further demonstrate the intention, under federal law,
to mandate testing and banning of chemicals only if they are “accessible” in the sense of being
able to harm children “under reasonably foreseeable conditions of handling or use.”
    82.     The term “hazardous substance” means, “Any substance or mixture of substances
which (i) is toxic, (ii) is corrosive, (iii) is an irritant, (iv) is a strong sensitizer, (v) is flammable
or combustible, or (vi) generates pressure through decomposition, heat, or other means, if such

substance or mixture of substances may cause substantial personal injury or substantial illness
during or as a proximate result of any customary or reasonably foreseeable handling or use, in-
cluding reasonably foreseeable ingestion by children.” 15 U.S.C. § 1261(f)(1)(A) (emphasis
added).
    83.     And the term “banned hazardous substance” means “any toy, or other article intended
for use by children, which is a hazardous substance, or which bears or contains a hazardous sub-
stance in such manner as to be susceptible of access by a child to whom such toy or other article
is entrusted.” 15 U.S.C. § 1261(q)(1)(A) (emphasis added).
    84.     Federal law purposely and explicitly exempts chemicals from testing, measurement,
and banning regulations that are not “accessible” to children, or, stated differently, chemicals that
do not present a risk of harm from the “customary or reasonably foreseeable handling or use” by
children.
    85.     ORS 431A.258 and OAR 333-016-2060 obliterate this distinction, focusing instead
on the “component part” or “unit” of a toy and requiring manufacturers (a) to test every “high
priority” chemical in every “component part” of a toy, (b) to notify the OHA about those chemi-
cals, and (c) then to remove or substitute them, or (d) stop selling the toy in Oregon altogether.
See OAR 333-016-2060(5) (requiring manufacturers to determine and provide “notice” to the
OHA regarding, among other things, the “amount of the chemical used in each unit” (which also
means a “component part”) of a children’s toy, without regard to whether that chemical presents
any risk of actual exposure and danger to a child); OAR 333-016-3010(1) (requiring manufactur-
ers to “remove or make substitution” of chemicals in a defined subset of children’s products,

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without regard to whether those chemicals are “accessible” or otherwise present an actual risk of
harm to children).
   86.     Requiring manufacturers to determine the “amount of the chemical” present even in
component parts that are not “accessible” to a child disrupts the very uniformity that a federal
scheme of regulation was explicitly intended to provide. See 15 U.S.C. § 2051(b)(3) (declaring
that the “purposes” of the CPSA include “to develop uniform safety standards for consumer

products and to minimize conflicting State and local regulations”); H.R. CONF. REP. 94-1022,
29, 1976 U.S.C.C.A.N. 1017, 1031 (“Even though the State or local requirement is characterized
in different terms than the Federal requirement or may have different testing methods for deter-
mining compliance, so long as the Federal and State or local requirements deal with the same
risk of injury associated with a product, the Federal requirement preempts a different State or lo-
cal requirement.”).
   87.     For example, ASTM F963, a mandatory safety standard under the CPSA, includes de-
tailed requirements “intended to reduce children’s exposure to heavy elements that may be con-
tained in accessible toy substrate materials” in children’s toys. Id. § 4.3.5.2.
   88.     For these heavy metals, the solubility tests dictated by these federally mandated
standards do not apply to toys or parts that are not “accessible” such that they do not present a
risk to children: “Toys and parts of toys which, due to their inaccessibility, size, mass, function,
or other characteristics, cannot be sucked, mouthed, or ingested are not subject to solubility test-
ing requirements.” Id. See also § A11.10 (“Toys and toy components that are accessible to the
child during play are subject to these requirements unless otherwise indicated.”). OHA’s recogni-
tion of testing methods ignores and conflicts with these requirements.
   89.     That is, federal law treats these heavy metals, which are potentially toxic and are in-
cluded in Oregon’s list of HPCCCHs, as acceptably safe and beyond the solubility-testing and
measurement requirements because the chemicals are not “accessible” to children under the
specified circumstances.



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    90.     Under these circumstances, federal law exempts any testing to determine the
“amount” of these chemicals in a toy part that is not “accessible” to children — an exemption
that Oregon’s novel statute and rule do not follow.
    91.     This difference, and the resulting burden on manufacturers only for toys sold in Ore-
gon, destroys the “uniform” system of identification, testing, and banning erected by the com-
plex, interlocking, and detailed system of federal laws, rules, and standards.

    92.     To protect its aim to provide this uniform system, the U.S. Congress included the ex-
press-preemption provisions in the CPSA and the FHSA, which requires that the federal laws
preempt and negate any non-“identical” state laws, rules, and regulations.
    93.     This conflict and its resulting preemption are equally applicable, for another example,
to federal regulation of phthalates.
    94.     As for other potentially hazardous or toxic chemicals in children’s toys, federal law
exempts products from testing where the chemical is not “accessible” in a way that would pre-
sent a risk to a child:

    The CPSIA [Consumer Protection Safety Improvement Act] requires manufacturers of chil-
    dren’s products subject to a children’s product safety rule to certify that their children’s prod-
    ucts comply with all applicable children’s product safety rules based on the results of third
    party tests. 15 U.S.C. 2063(a)(2). Third party testing is only required for those components of
    children’s toys and child care articles that are accessible and that could contain one or more
    of the prohibited phthalates. Prohibition of Children’s Toys and Child Care Articles Contain-
    ing Specified Phthalates. Fed. Register, Vol. 79, No. 249. (emphasis added).
    95.     OAR 333-016-2060 conflicts with this federal legal regime to regulating the content
and composition of children’s products with phthalates in requiring manufactures to test every
toy, and every “component part” of a toy, in order to determine and provide “notice” of the
amount of phthalates in the toy. See OAR 333-016-2010 (defining “Children’s product” to in-
clude “Toys” but also any “component part of a product specified in paragraph (A) of this sub-
section,” which includes “toys”); OAR 333-016-2060 (requiring manufacturers to test, measure,
and then provide notice for any “children’s product sold or offered for sale in this state that con-
tains a HPCCCH,” which includes several phthalates).


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   96.        Under the express-preemption provisions of the CSPA and the FHSA, Oregon’s non-
“identical” regulation must fail because it is preempted by contrary federal laws, rules, and
standards.
   97.        Plaintiffs are entitled to a declaration that the requirement to test components of toys
that are not “accessible” to children under OAR 333-016-2060 are preempted by federal law,
and, for the same reasons, this Court should enjoin Defendants from enforcing these preempted

provisions.
                                                 PRAYER
WHEREFORE, Plaintiffs respectfully request that this Court:
   1.    On Count 1, declare that OAR 333-016-3015(4) is preempted by federal law, and is
         therefore void and unenforceable
   2.    On Count 2, declare that OAR 333-016-3015(4) is void because it exceeds the authority
         of the Oregon Health Authority to promulgate rules administering ORS 431A.260;
   3.    On Counts 1 and 2, enter a permanent injunction enjoining Defendant from taking any
         action to enforce OAR 333-016-3015(4), including any action that penalizes or restricts
         the distribution and sale of federally compliant, safe children’s products;
   4.    On Count 3, declare that ORS 431A.258 and OAR 333-016-2060 are preempted by fed-
         eral law, and are therefore void and unenforceable;
   5.    On Count 3, enter a permanent injunction enjoining Defendant from taking any action
         to enforce ORS 431A.258 and OAR 333-016-2060;
   6.    Award to Plaintiffs reasonable attorney fees and costs as may be allowed under law;
         and
   7.    Award such other relief as this Court may deem just and appropriate.

Dated: December 6, 2021                          s/ James T. McDermott
                                                 James T. McDermott, OSB 933594
                                                 Dwain M. Clifford, OSB 025074
                                                 Attorneys for Plaintiffs



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